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                               EXHIBIT 176
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Guy Bacco
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 Promoted CNS                                   Non-Promoted CNS
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 Products                                       Products
                                                  AXERT®
• INVEGA® SUSTENNA®
                                                  CONCERTA®
                                                  METHYLPHENIDATE

                                                  HALDOL
• RISPERDAL® CONSTA®
                                                  PANCREAZE™

                                                  RAZADYNE®

• INVEGA®                                         RISPERDAL®

                                                  TOPAMAX®
Promoted CNS Products (LATs)
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• INVEGA® SUSTENNA®
  – Launched in 2009
  – Injectable atypical antipsychotic – once a month*


• RISPERDAL® CONSTA®
  – Launched in 2003                                                                   Schizophrenia
  – Injectable atypical antipsychotic – two times a month


• INVEGA®
  – Launched in 2007
  – Oral atypical antipsychotic – once a day
            Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 6 of 34. PageID #: 139636


What is Schizophrenia?
 Affects more than 24 million people worldwide
 Research suggests that Schizophrenia may be caused by a chemical imbalance in
  the brain which can cause messages in the brain to get mixed up
 Scientists believe disease results from a combination of genetic and environmental
  factors
 Positive symptoms (extra feelings that are usually not present) include:
     Distortion in thought content (delusions)
     Hearing/seeing/tasting/feeling/smelling things that do not exist
      (hallucinations)
     Disorganized speech and behavior

 Negative symptoms (lack of behavior) include:
     Losing interest in everyday activities, such as bathing, grooming, getting
      dressed
     Feeling out of touch with other people, family, or friends
     Having little emotion or inappropriate feelings in certain situations

 Atypical antipsychotics are thought to help balance certain chemicals in the brain,
  and has been shown to help many people manage their symptoms of schizophrenia
                            Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 7 of 34. PageID #: 139637



Where we all play in the space
                                 Activation
                                                                                                    Most Severe /
                                                                                                       Non-
                                                                                                     Compliant
 Level of Function




                             Calming                 Severe


                     Time


                        First Relapse Patient          The “Sweet Spot” for            Last Resort Patient
                                                       INVEGA® SUSTENNA®
APS Market
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Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 9 of 34. PageID #: 139639
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 A novel, oral, anticoagulant (“blood thinner”)
    First-in-class direct inhibitor of coagulation factor Xa
    Co-developed with Bayer
 Current market includes: Coumadin® (warfarin), Lovenox®
  (enoxaparin), and others
 Competition will include: Pradaxa® (dabigatran), Eliquis™
  (apixaban), and others
    Indirect competition will include Plavix (clopidogrel), aspirin,
     and others
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Ortho-McNeil Proprietary. For internal use only. Not to be shown or discussed with others
             Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 12 of 34. PageID #: 139642




Product Overview:
Proton pump inhibitor (PPI) used for the treatment of persistent, frequent
heartburn and other symptoms associated with acid reflux disease.

Aciphex is manufactured by Eisai and
co-promoted with PriCara.

Market Dynamics
Highly competitive, many generics and OTC
options for treatment of acid reflux. Key
branded competitors are Nexium and Dexilant.
                   Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 13 of 34. PageID #: 139643




Product Overview:
Nucynta launched June 2009
Nucynta launch June 2011

NUCYNTA® is a single molecule with a different approach to pain relief. It is the first
new molecule in analgesia in over 25 years for the relief of moderate to severe
acute pain in patients.


Market Dynamics:
98% generic market – main competitors include Percocet & Oxycodone


Core Strategies
Challenge market by redefining standard of care for moderate to severe pain

Establish NUCYNTA as 1st line analgesic treatment for new to
CII patients

Secure favorable market access and cultivate advocates across key stakeholder
groups

Establish NUCYNTA ER as foundation of moderate-severe pain management
Elmiron          Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 14 of 34. PageID #: 139644


Product Overview:
Only FDA approved oral treatment for interstitial cystitis (IC)
In patients with IC, the protective mucosal layer of the
bladder erodes, exposing the bladder walls to irritants in urine. Elmiron may
replenish the mucosal lining of the bladder,
reducing pain and irritation.

Market Dynamics
Elmiron is the only oral treatment for IC. Other competing
treatments include intravesical instillations for acute
symptoms and non-pharmaceutical therapies.




Product Overview:
Ortho Tri-Cyclen Lo is a low-dose, tri-phasic
hormonal contraceptive.

Market Dynamics
Yaz and Loestrin 24 are main competitors. Market has high generic
penetration and is very commoditized. All products are highly effective
at preventing pregnancy and promotion is based on non-contraceptive
benefits and side effects.
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         Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 16 of 34. PageID #: 139646




HIV/AIDS Treatment
 Classes of Drugs
    •   Nucleoside Reverse Transcriptase Inhibitors (NRTIs)
    •   Non-Nucleoside Reverse Transcriptase Inhibitors (NNRTIs)
    •   Protease Inhibitors (PIs)
    •   Integrase Inhibitors
    •   CCR5 Inhibitors
    •   Fusion Inhibitors


HAART - Highly Active Anti-Retroviral Therapy
    •   Combination of three or more ARV drugs
    •   Usually 2 backbone drugs (NRTIs) and 1 PI or 1 NNRTI


                                                                                             15
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 Product Overview
 PREZISTA is a protease inhibitor (PI) used for the treatment of HIV. PREZISTA was
 launched in June 2006 in a 300mg tablet. PREZISTA is approved for pediatric patients as
 well (75mg and 150mg tablets). PREZISTA is manufactured in Gurabo.

 600mg tablet launched May, 2008
   • Indication: Treatment experienced patients
   • Dosing: 1 pill, twice daily (600mg BID)
400mg tablet launched October, 2008
   • Indication : Treatment naïve patients
   • Dosing: 2 pills, once daily (800mg QD)

 Market Dynamics
 Highly competitive between 3 products (Reyataz, Kaletra, & PREZISTA). PREZISTA has
 23% of the current TRx market (as of the end of 2010) and is continuing to grow. New
 patients are only available when they are switching regimen. Various classes of HIV drugs
 can be prescribed together.

 Core Strategies
 Incorporate ODIN data into label and marketing materials. Gain approval of 800mg dosage.
 Eliminate PI sequencing mindset. Competitively sell PREZISTA within the PI class.
                Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 18 of 34. PageID #: 139648




Product Overview
Non-Nucleoside Reverse Transcriptase Inhibitor (NNRTI) used for the treatment of HIV launched in
January 2008. Traditional approval in November 2009. Intelence is manufactured in Latina. INTELENCE is
the only NNRTI that preserves the NNRTI class.

100mg tablet launched January, 2008
•Indication: Treatment experienced patients
•Dosing: 2 pills, twice daily (200mg BID)
•Can be dispersed in water and taken as a liquid

200mg tablet launching February, 2011
•Indication: Treatment experienced patients
•Dosing: 1 pills, twice daily (200mg BID)
•Can be dispersed in water and taken as a liquid

Market Dynamics
Market leader (Atripla) offers 1 pill once a day and has 60% market share. Intelence competes in a limited
space due to its label. It has 9% market share at the end of 2010 and is continuing to grow. New patients
are only available when they are switching regimens. Various classes of HIV drugs can be prescribed
together.

Core Strategies
Simplify and balance our communications. Define the INTELENCE Effect. Describe appropriate patients
                                 Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 19 of 34. PageID #: 139649




                                          “Dynamic” Patients: Those Initiating or Changing Therapy

         Naive /                                                                         1st Virologic                                          1st Virologic      2 or more
                               Simplification                 Tolerability                                         1st Virologic
        Initiating                                                                      Failure on an                                            Failure on        Virologic
                                 Switches                      Switches                                           Failure on a PI
         Patients                                                                            NNRTI                                                Isentress         Failures


          30% of                                                  29% of
                               11% of Patients                                         13% of Patients            8% of Patients              3% of Patients     6% of Patients
         Patients                                                Patients



                                                                                        PREZISTA
                                                                                                                                                                 TITAN/ POWER
       ARTEMIS                                SPILLOVER                                                                 ODIN




                                                                            SPILLOVER                                                                               DUET



           ECHO /                            SPILLOVER
           THRIVE

                                                                                                                                                                                  18
NOTE: Promotion will only occur against on-label uses. Any sales arising from segments representing off-label uses will be a result of only spontaneous sales.
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                              Auto Immune Diseases
 A condition that occurs when the immune system mistakenly attacks
                                        and destroys healthy body tissue


  The immune system can't tell the difference between healthy body
                  tissue and antigens* and destroys normal body tissues


        Approximately 80 autoimmune disorders currently affecting
                                                             Individuals


                     Often chronic, debilitating, and life-threatening


 *Antigen:Any substance (foreign or a self molecule) capable of triggering an immune response
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Images of Immunology Diseases
Rheumatoid Arthritis                  Psoriatic Arthritis                  Ankylosing Spondylitis




   Plaque Psoriasis                      Crohn’s Disease                       Ulcerative Colitis
The Crowded Rheumatology
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Biologics Market
       Competitor                             Substances derived from living
                                                 cells (human, animal, or
                                                 microorganism)

                                              Designed to act on different
                                                 parts of the inflammatory
                                                 system in order to evoke
                                                 specific, targeted effects

                                              Goal of biologics is to slow or
                                                 block specific components of
                                                 the immune system and halt
                                                 tissue destruction
What is Remicade?
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 Launched in 1998
 Biologic agent that target specific proteins in the body to help control inflammation and pain in
   autoimmune disorders
     Targets a protein receptor called Tumor Necrosis Factor alpha (TNFα) and prevents it
       from signaling its receptors on the surface of cells which causes inflammatory responses
 FDA approved for 7 indications broken into 3 franchises


        F r a n c h is e               I n d i c a ti o n                                         F D A Approv al
        R h e u m a to lo g y          R h e u m a to id A r th r itis ( R A )                         N o v- 9 9
                                       A n k y lo s in g S p o n d y litis ( A S )                     D ec-04
                                       P s o r ia tic A r th r itis ( P s A )                          M a y- 0 5

        G a s tr o e n te r o lo g y   U lc e r a tiv e C o litis ( U C )                            Sep-05
                                       C r o h n 's D is e a s e ( C D )                             A ug-98
                                       P e d ia tr ic C r o h n 's D is e a s e ( P e d s C D )      M a y- 0 6

        D e r m a to lo g y            P s o r ia s is ( P s O )                                      Sep-06
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SIMPONI (golimumab) Product Introduction
  Three Simultaneous Rheumatic Indications
     Rheumatoid Arthritis, Psoriatic Arthritis, Ankylosing
       Spondylitis
  Efficacy with advances in:
     Convenience
     Safety/tolerability

Stelara (Ustekinumab) Product Introduction
 Indicated in Plaque Psoriasis
     Chronic inflammatory skin condition
     Skin cells grow to quickly, resulting in thick, white, silvery or red patches of skin
     As many as 7.5MM Americans diagnosed

 Administered by HCP through PFS
 Weight based dosing:
     45 mg for patients ≤ 220 lbs
     90 mg for patients ≤ 220 lbs
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What is Procrit?
                                        Stimulates red
       Produces                            blood cell
     Erythropoietin                       production
         (EPO)



     If body can’t
   produce enough                                                        Anemia



                                           Synthetic              Helps to stimulate
                                                                    red blood cell
                                             EPO                      producton

                   COBI Confidential
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What is Procrit?
 Procrit treats Anemia for:
   Chronic Renal Failure (non-dialysis)                                                   EPO

   Cancer patients on Chemotherapy
   Zidovudine-treated HIV-infected Patients

   Drugs suppress bone                              Bone marrow
         marrow                                       produces

   In place of Blood transfusions in surgery
    patients



                            COBI Confidential
         Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 29 of 34. PageID #: 139659



What is Zytiga?
 Oral pill used to treat Prostate cancer
 Acquired as part of Cougar Biotech



     Prostate                                                    Causes cancer to
      cancer             Feeds on Testosterone                    grow/spread




                                                                       Zytiga
 Starved cancer                                                  stops testosterone
                        “Starves” cancer of food                   production in 3
 can shrink/die
                                                                       places
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What is Zytiga?

                Brain
                                                           Pituitary

                                                                                      Hormonal
 Surgery                                                                              Therapies
                                    Testosterone                      Adrenal
           Testis                   production in
                                                                      Gland
                                    the body




                                             Zytiga stops Testosterone production in
                               Prostate Cancer              all 3 areas


                                                                                            29
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Backup




                                                                                        30
Rheumatoid Arthritis (RA)                                             Psoriatic arthritis (PsA)
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    A disabling, systemic
     autoimmune                                                 A heterogeneous disease of the
     disorder                                                      joints and skin,
                                                                   at times resembling RA, which
    Can lead to substantial
     loss of mobility due to                                       can present separately or
     pain and joint destruction                                    together
    Affects approximately 2.1
     million Americans, mostly                                 
                                                                   Estimated prevalence of
     women (ages 30-50)
                                                                   approximately 2 million
                                                                   Americans
Ankylosing spondylitis (AS)                                     Plaque Psoriasis (PsO)
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   A chronic inflammatory disease of                               Chronic inflammatory skin
      the spine and sacroiliac joints                                  condition
      leading to pain and stiffness from
      the neck down to the lower back                               Causes skin cells to grow too
                                                                       quickly, resulting in thick,
  
      AS most often affects men in their
                                                                       white, silvery, or red patches
      20s and 30s
                                                                       of skin
  
      Between 350,000 and 1 million                                 As many as 7.5 million
      Americans live with AS                                           Americans have been
                                                                       diagnosed
           Case: 1:17-md-02804-DAP Doc #: 1960-70 Filed: 07/23/19 34 of 34. PageID #: 139664

Chrohn’s Disease (CD)                                          Ulcerative Colitis (UC)
   Chronic and serious                                      Chronic disease of the colon, or
    inflammatory disease of the                                large intestine characterized by
    gastrointestinal (GI) tract                                ulcers, or open sores, in the
                                                               colon
   symptoms, including
    diarrhea, abdominal                                      Typically develops in people
    cramps and pain, fever,                                    between the ages of 15 and 30
    rectal bleeding, loss of
    appetite, and weight loss
                                                             Affects as many as 500,000
   Affects more than 500,000                                  Americans
    Americans




                                                                                               33 33
